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                                               #:65


      SO. CAL. EQUAL ACCESS GROUP
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      Attorneys for Plaintiff
 6    LUZ ZENDEJAS
 7
                                 UNITED STATES DISTRICT COURT
 8
                                CENTRAL DISTRICT OF CALIFORNIA
 9
10    LUZ ZENDEJAS,                                      Case No.: 2:24-cv-05041-ODW (BFMx)
11
                   Plaintiff,                            NOTICE OF VOLUNTARY
12                                                       DISMISSAL OF ENTIRE ACTION
            vs.                                          WITH PREJUDICE
13
14    R. F. WICALL TRUCKING, INC.; and
      DOES 1 to 10,
15
                   Defendants.
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17
18          PLEASE TAKE NOTICE that Plaintiff LUZ ZENDEJAS (“Plaintiff”) pursuant
19    to Federal Rule of Civil Procedure Rule 41(a)(1) hereby voluntarily dismisses the entire
20    action with prejudice pursuant to Federal Rule of Civil Procedure Rule 41(a)(1) which
21    provides in relevant part:
22          (a) Voluntary Dismissal.
23
                   (1)    Without a Court Order. Subject to Rules 23(e), 23.1(c), 23.2, and 66
24
                          and any applicable federal statute, the plaintiff may dismiss an action
25
                          without a court order by filing:
26
                          (i)      A notice of dismissal before the opposing party serves either an
27
                                   answer or a motion for summary judgment.
28


                                                     1
                     NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
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 1    None of the Defendants has either answered Plaintiff’s Complaint, or filed a motion for
 2    summary judgment. Accordingly, this matter may be dismissed without an Order of the
 3    Court.
 4
 5    DATED: September 6, 2024              SO. CAL. EQUAL ACCESS GROUP
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 7
 8                                          By:      /s/ Jason J. Kim
                                                   Jason J. Kim, Esq.
 9                                                 Attorneys for Plaintiff
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                    NOTICE OF VOLUNTARY DISMISSAL OF ENTIRE ACTION
